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1                     UNITED STATES DISTRICT COURT
2
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
3

4
     DAVID BAXTER,               ) Case No. 4:10-cv-04981-CW
5
                                 )
6    Plaintiff,                  ) ORDER
7
                                 )
            vs.                  )
8                                )
9    BRIDGEPORT FINANCIAL, INC., )
                                 )
10
     Defendant.                  )
11                               )
12

13         IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties
14   to dismiss this case with prejudice pursuant to Federal Rules of Civil Procedure
15   41(a)(1)(A)(ii), the entire case is dismissed with prejudice. Each party shall bear
16   their own costs and expenses.
17

18                                        Dated this ____day of May, 2011.
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21                                          _______________________________
                                            The Honorable Claudia Wilken
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                                        Order to Dismiss - 1
